Case 3:22-cv-00049-NKM-JCH Document 317 Filed 10/25/23 Page 1 of 10 Pageid#: 4014




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION

  BABY DOE, et al.                                     )
                                                       )
                 Plaintiffs,                           )
                                                       )
  v.                                                   )       Case No. 3:22-cv-49-NKM
                                                       )
  JOSHUA MAST, et al.                                  )
                                                       )
                 Defendants,                           )
                                                       )


   DEFENDANTS JOSHUA AND STEPHANIE MAST’S REPLY IN SUPPORT OF THEIR
    MOTION TO COMPEL PRODUCTION BY JOHN AND JANE DOE REGARDING
         THEIR INTERROGATORIES AND REQUESTS FOR PRODUCTION

         Plaintiffs John and Jane Doe’s Opposition (ECF No. 311) confirms it was necessary for

  the Masts to file this Motion to Compel. Although they produced some documents responsive to

  the Masts’ Interrogatories and Requests for Production after this Motion was filed, the Does

  continue to resist producing documents relevant to the claims and defenses in this litigation.

  Documents they refuse to produce relate to many material disputes in this case, including: (1) the

  Does’ claim that they are “Baby Doe’s” 1 “true family and legal guardians” under Afghan law, see,

  e.g., ECF No. 68 (Amended Complaint) at ¶ 10; (2) facts relevant to the Masts’ motion for the

  Court to modify its protective order, ECF No. 130; (3) the Masts’ defense against the Does’ two

  show cause motions (which are based entirely on the notion that the Masts shared photographs

  with third parties), see ECF No. 141 (the Does’ First “Emergency” Motion for Order to Show



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    The Masts continue to maintain using the name “Baby Doe” is inappropriate because it insinuates
  the Does have a legal relationship with her when they have failed to prove they are (or were) her
  adoptive parents, her legal guardians, or even her biological relatives in litigation that has taken
  place for almost two years. The Masts use the term here only so there is no dispute about who the
  child is—the Masts’ adoptive daughter who has lived with them for over two years.
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Case 3:22-cv-00049-NKM-JCH Document 317 Filed 10/25/23 Page 2 of 10 Pageid#: 4015




  Cause), ECF No. 231 (the Does’ Second “Emergency” Motion for Order to Show Cause); and

  (4) facts related to other defenses that the Masts may develop to defend against any claim in the

  Amended Complaint.

          The Court should compel the Does to respond to the Masts’ Interrogatory Nos. 10 and 12

  and their Request for Production No. 15, ordering them to provide answers and responses

  (including document production) to the Masts’ discovery requests within seven days of entry of

  an order. 2

                                            ARGUMENT

          The standard for obtaining discovery is low—the Masts are entitled to “discovery regarding

  any nonprivileged matter that is relevant to any party’s claim or defense and proportional to the

  needs of the case.” Fed. R. Civ. P. 26(b)(1). The burden is on the Does, not the Masts, to

  demonstrate the discovery should not be allowed. See Scott v. Clarke, No. 3:12-CV-00036, 2013

  WL 6158458, at *1 (W.D. Va. Nov. 25, 2013) (Moon, J.); Davis v. W. Carolina Univ., No.

  2:14CV6, 2015 WL 540506, at *1 (W.D.N.C. Feb. 10, 2015) (“Over the course of more than four

  decades, district judges and magistrate judges in the Fourth Circuit . . . have repeatedly ruled that

  the party or person resisting discovery, not the party moving to compel discovery, bears the burden

  of persuasion.” (citation omitted)). “Counsel for the opposing party should not be able to act as the

  gatekeeper to determine what information the adversary is entitled to have.” J.K. Mineral Co., LLC

  v. Swiger, 292 F.R.D. 323, 334 (N.D. W.Va. Feb. 22, 2013).

          1. Shared Photographs of “Baby Doe.” The Masts requested the Does to identify each

  person with whom the Does or their attorneys “sent, shared, or otherwise provided a photograph



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    The Masts received documents from the Does on October 20; they are in the process of reviewing
  those documents and will move to compel at a future date for Requests for Production Nos. 2, 8,
  and 14 if it becomes apparent the Does are still hiding relevant documents.
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Case 3:22-cv-00049-NKM-JCH Document 317 Filed 10/25/23 Page 3 of 10 Pageid#: 4016




  of Baby Doe since John and Jane Doe arrived in the United States.” ECF No. 300-1 at 3 (Masts’

  Interrogatory #12). The Masts requested this information after the Does made an issue out of

  shared photos of Baby Doe. The Does filed two show cause motions, which argued that the Masts’

  alleged sharing of photographs (which did not in fact happen) threatened the Does’ physical safety.

  ECF No. 141 at 1–2; see ECF No. 231 at 4 n.3 (asking this Court to “consider referring the Masts

  to the United States Attorney’s Office for possible prosecution for criminal contempt in light of

  the Masts’ continued violations of the Protective Order and the resultant irreversible harm and

  present danger that Plaintiffs and their families now face”). Seeking discovery about other shared

  photos of Baby Doe clearly relates to this issue put in dispute by the Does.

         In response, the Does argue they do not have to respond to Masts’ Interrogatory #12

  because there is no allegation that the Does violated the protective order. ECF No. 311 (Does’

  Opposition) at 5–6. This misses the point. The Does, not the Masts, have asked this Court for

  criminal and civil sanctions against an opposing party based on alleged sharing of photographs.

  The Does, not the Masts, have repeatedly told this Court that sharing photographs puts them in

  immediate danger. The Does, therefore, made this issue pertinent to the case, and they must now

  provide any discoverable documents or other communications relevant to any defense. See Bell

  Inc. v. GE Lighting, LLC, 2014 WL 1630754, at *6 (W.D. Va. Apr. 23, 2014) (“[A] party is entitled

  to information that is relevant to [any] claim or defense in the matter at issue.” (internal quotation

  marks and citations omitted)). If sharing photographs with third parties can cause the Does to be

  identified, then, by the Does’ logic, any sharing of photographs they chose to provide others

  resulted in self-endangerment. The Masts have a right to this information as a defense against the

  allegations and motions filed by the Does.




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Case 3:22-cv-00049-NKM-JCH Document 317 Filed 10/25/23 Page 4 of 10 Pageid#: 4017




          The Does also claim that the sharing of photographs does not violate the protective order

  when shared with friends and family but does violate the order when shared “in a way that

  identifies John, Jane, or Baby Doe as the Plaintiffs and child involved in this litigation.” ECF No.

  311 (Does’ Opposition to the Masts’ Motion to Compel) at 5. This legal argument goes to the

  merits of the Does’ motion to show cause, where the Court can adjudicate the meaning of the

  protective order; it does not provide justification to refuse to participate in discovery about the

  facts underlying the dispute. Moreover, the Masts’ have a sound basis for believing the Does have

  in fact shared photographs with third parties in a way that undermines the Does’ arguments about

  identification and safety. For instance, John and Jane Doe invited members of the Associated Press

  and the New York Times Magazine into their homes and provided reporters with “Baby Doe’s”

  real name. See, e.g., C. Galofaro, J. Linderman, and M. Mendoza, US Marine’s adoption of Afghan

  war     orphan      voided,     Associated      Press       (Mar.     31,    2023),    located      at

  https://apnews.com/article/afghanistan-baby-marine-adoption-joshua-mast-

  295673fb358cf30abd243995cd846c99 (recounting conversations reporters had with the Does and

  their attorneys); R. Ali, How Did This Man Think He Had the Right to Adopt This Baby?, N.Y.

  Times            Magazine           (Nov.             20,           2023),        located           at

  https://www.nytimes.com/2022/11/10/magazine/afghanistan-orphan-baby-l.html (detailing the

  reporter’s visit with John and Jane Doe at their home in Texas); ECF No. 130-2 (email from New

  York Times Magazine reporter) (asking for the Masts to comment because “[w]hen [‘Baby Doe’]

  gets older, and if she searches for your or your wife’s name, she will likely come across this article

  about her adoption, and she may wonder about the absence of her parents’ voice in the story. I can

  see just how important [‘Baby Doe’s’] care was to you, and your voice in the article will make that

  sentiment more apparent”). This information is relevant to the Masts’ defense against the Does’



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Case 3:22-cv-00049-NKM-JCH Document 317 Filed 10/25/23 Page 5 of 10 Pageid#: 4018




  show-cause motions. See generally ECF No. 141; ECF No. 231. That issue is squarely in this

  litigation now because of the Does, and they are required to respond to any relevant discovery

  relating to the issue. See Bell, 2014 WL 1630754, at *6.

         As one example about how potentially responsive documents would be relevant to a

  defense, consider how any disclosure by the Does would subject them to the unclean hands

  doctrine. See Plant v. Merrifield Town Center Ltd. P’ship, 711 F. Supp. 2d 576, 596 (E.D. Va.

  2010) (“[N]o party asserting an equitable claim or an equitable defense may himself or herself be

  tainted with inequitableness or bad faith relative to the matter in which he [or she] seeks relief,

  however improper may have been the behavior of the other party.” (internal quotation marks and

  citations omitted)).

         Finally, to the extent the Does argue that the protective order, not the Amended Complaint,

  makes the sharing of photographs of Baby Doe relevant, that does not excuse the need to comply

  with discovery. While the Masts have asked for the protective order to be modified, until the Court

  decides to lift the protective order, any discovery related to sharing photographs of “Baby Doe” is

  relevant, subject to dispute, and fair game for discovery.

         The Court should, therefore, order the Does to respond to Interrogatory #12.

         2. Names of the Does’ and “Baby Doe’s” Afghan Relatives and Descriptions of that

  Relationship. The Masts requested the Does to identify all relatives of the Does and “Baby Doe”

  located in Afghanistan, including a description of their relationship. ECF No. 300-1 at 3 (Masts’

  Interrogatory #10). This Interrogatory could lead to more relevant information to this dispute

  concerning: (1) whether the Does are “Baby Doe’s” family or legal guardians under Afghan law;

  (2) whether, before entering the United States, the Does ever described themselves or otherwise

  saw themselves as “Baby Doe’s” parents or legal guardians; (3) whether the Does have any good-



                                                   5
Case 3:22-cv-00049-NKM-JCH Document 317 Filed 10/25/23 Page 6 of 10 Pageid#: 4019




  faith basis to believe that “Baby Doe” is John Doe’s cousin; and (4) where and with whom “Baby

  Doe” resided when she lived in Afghanistan. Without the Does having a legally valid relationship

  to Baby Doe, this entire lawsuit could not proceed.

         The Does argue this Interrogatory is irrelevant because “[i]t is undisputed” that (1) “John

  and Jane Doe had Baby Doe in their custody when they entered the United States” and (2) “J&S

  Mast’s conduct between 2019 and 2021 led to Baby Doe being removed from the custody of John

  and Jane Doe.” Opp. at 7. Those two “facts” are highly disputed—while the Does arrived in the

  United States with “Baby Doe,” they were only able to do so because the Masts were “Baby Doe’s”

  legal custodians and because the Masts ensured the Does entered the United States. See ECF No.

  86 (Masts’ Memorandum in Support of Their Motion to Dismiss) at 6. And regarding the Does’

  custody of “Baby Doe,” that is a key issue in this case. Though the Does claim “[t]his is not a

  paternity dispute” here, just a few weeks ago on October 12, the Does moved to compel the prior

  guardian ad litem for documents related to the Masts’ adoption of “Baby Doe” (who currently are

  still her only legally recognized parents) because “[d]ocuments and communications related to

  Joshua and Stephanie Mast’s efforts to obtain custody of Baby Doe in 2020 go directly to

  Plaintiffs’ claims that Defendants tortiously interfered with Plaintiffs’ parental rights and

  conspired with others to do so.” ECF No. 307 at 4. Whether the Does are in fact “Baby Doe’s”

  legal custodians is at the heart of this dispute, and information about the Does’ family members

  matters for determining whether Afghan law actually allowed the Does to become “Baby Doe’s”

  legal custodians and for understanding where and with whom “Baby Doe” lived from February

  2020 until August 2021.

         Further, the Masts never understood the Does to be “Baby Doe’s” legal authority and

  thought, based on John Doe’s representations, that John Doe’s father was making decisions about



                                                  6
Case 3:22-cv-00049-NKM-JCH Document 317 Filed 10/25/23 Page 7 of 10 Pageid#: 4020




  “Baby Doe’s” welfare. And it became clear in the Circuit Court proceeding that John and Jane

  Doe lived apart for at least eight months during the time in which “Baby Doe” was allegedly in

  their custody, and that “Baby Doe” was frequently left in the care of other relatives.

         The Does’ invocation of the Supremacy Clause is the true red herring. See ECF No. 311

  (Does’ Opposition) at 7–8. The Does have implored every level of Virginia courts—the Fluvanna

  County Circuit Court, the Court of Appeals of Virginia, and the Supreme Court of Virginia—to

  accept their theory that the U.S. State Department can choose at a specific time to preempt state

  law for all time and for all orders issued before and after the policy decision was made. No court

  thus far has accepted that theory. Rightly so, as there is no law to support their contention. The

  U.S. Supreme Court has long held that states—not the federal government—have primary

  authority over domestic relations. 3 And the U.S. Supreme Court has made clear that even the

  President himself cannot domesticate international law by specifying his preferred outcome based

  on a foreign policy decision. See Medellin v. Texas, 552 U.S. 491, 532 (2008) (holding that the

  President lacked such authority in a state criminal proceeding, which was “deep into the heart of

  the State’s police powers”).

         In any event, this Court has not yet ruled in the Does’ favor regarding this legal argument

  (and to do so would conflict with the Circuit Court’s holdings to the contrary), so it is premature

  for the Does to unilaterally cut off relevant discovery based on their own interpretation of the law.

  See J.K. Mineral, 292 F.R.D. at 334 (“Counsel for the opposing party should not be able to act as



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   See Haaland v. Brackeen, 143 S. Ct. 1609, 1629 (2023) (“[R]esponsibility for regulating marriage
  and child custody remains primarily with the States.”); Elk Grove Unified Sch. Dist. v. Newdow,
  542 U.S. 1, 12 (2004) (citation omitted) (“[T]he whole subject of the domestic relations of husband
  and wife, parent and child, belongs to the laws of the States and not to the laws of the United
  States.” (citation omitted)); Mansell v. Mansell, 490 U.S. 581, 587 (1989) (“[D]omestic relations
  are preeminently matters of state law.”); Moore v. Sims, 442 U.S. 415, 435 (1979) (“Family
  relations are a traditional area of state concern.”).
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Case 3:22-cv-00049-NKM-JCH Document 317 Filed 10/25/23 Page 8 of 10 Pageid#: 4021




  the gatekeeper to determine what information the adversary is entitled to have.”); Cleaver v.

  Transnation Title & Escrow, Inc., No. 1:21-CV-00031-BLW, 2022 WL 623251, at *2 (D. Idaho

  Mar. 2, 2022) (granting motion to compel when a party “provide[d] a factual basis for” allegations

  that were “more than enough to meet the liberal standard for relevance,” and denying the opposing

  party’s “arguments to the contrary that [we]re legal arguments” that “d[id] not actually rebut the

  threshold showing of relevance”); As such, this legal argument is better equipped for a motion for

  summary judgment or as part of a legal claim at trial, not as a means to block relevant discovery.

  See Castelan-Gutierrez v. Bodega Latina Corp., No. 2:17-cv-01877, 2018 WL 4050493, at *2 (D.

  Nev. Mar. 30, 2018) (“The mere fact that a party may articulate some legal argument that may

  allow it to prevail on a particular claim, even when presented in a currently-pending dispositive

  motion, is simply insufficient to justify denying discovery to its opponent.”).

         Finally, this Interrogatory is not overly broad, ambiguous, or vague—in fact, the

  Interrogatory is specific and requests the names and relationship of all relatives of the Does and

  “Baby Doe.” The Does contest they are “Baby Doe’s” “true family” and her “legal guardians . . .

  under the laws of Afghanistan” of “Baby Doe” and argue that “John Doe and Baby Doe share a

  grandparent.” ECF No. 68 at ¶¶ 10, 12, p.4 n.2. The Court should, therefore, order the Does to

  respond to Interrogatory #10.

         3. Documents from and Communications with Law Enforcement. The Masts are in the

  process of reviewing the documents and communications with law enforcement recently produced.

  As previously noted, the Does stonewalled the Masts from receiving these documents in the Circuit

  Court proceeding, claiming privilege for over a year and a half. The Masts will withdraw the

  request to compel production of these documents once they are satisfied the Does have produced

  all relevant documents.



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Case 3:22-cv-00049-NKM-JCH Document 317 Filed 10/25/23 Page 9 of 10 Pageid#: 4022




         4. Documents from and Communications with the U.S. Department of Justice. The Masts

  are in the process of reviewing the documents and communications with law enforcement recently

  produced. The Masts will withdraw the request to compel production of these documents once

  they are satisfied the Does have produced all relevant documents.

         5. Documents Related to Project ANAR (Afghan Network for Advocacy and Resources).

  The Masts requested “All Documents with anyone from Project ANAR (Afghan Network for

  Advocacy and Resources), including but not limited to Laila Ayub and Wogai Mohmand.” ECF

  No. 300-3 at 4 (Masts’ Request for Production #15). The Does argue these documents are not

  relevant because the Masts have not yet moved for show cause for the Does violating the protective

  order. That’s not the standard. A party need not file a show cause motion before seeking discovery.

  And regardless, these documents may be used for impeachment purposes or may contain factual

  admissions by the Amins related to their family or status as legal guardians or other disputed facts.

  The Does have not met their burden of showing that providing these documents to the Masts would

  be burdensome or expensive, so they must provide them to the Masts.

         These documents are clearly relevant to the litigation for several issues, including regarding

  (1) whether the protective order should be modified, see ECF No. 130; and (2) whether the Does

  provided any identifying information to Project ANAR. These requests mirror the Does’ requests

  for all communications with third parties, including non-profits, religious and faith-based entities,

  Liberty Counsel, and Liberty University. See ECF 230-1 (Does’ Interrogatories Nos. 10–13).

         Whether the Does are continuing a pattern of communicating with third parties about the

  disputed factual claims underlying this litigation is also relevant to whether the Court’s protective

  order must be lifted for violating the First Amendment. That is more than enough to meet the low

  bar for relevance.



                                                   9
Case 3:22-cv-00049-NKM-JCH Document 317 Filed 10/25/23 Page 10 of 10 Pageid#: 4023




                                          CONCLUSION

          For the foregoing reasons, the Court should compel the Does to respond to the Masts’

   Interrogatory Nos. 10 and 12 and their Request for Production No. 15.

          Dated: October 25, 2023                     Respectfully submitted,

                                                      /s/ Michael Francisco .




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